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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA EMB F-p f;» P\' 3; 30

 

 

 

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TAMPA DIVISION
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CBRE, INC., a Delaware Corporation, 'L"‘E~`~ '-~…m :"‘ IFLTU`§?DFAL“ "L;`

Plaintiff,

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v. Case No.
KOSTAS STOILAS, an individual,

Defendant.

COMPLAINT FOR DAMAGES

 

Plaintiff, CBRE, INC., a Delaware Corporation ("CBRE"), sues Defendant, KOSTAS
STOILAS ("Stoilas"), and alleges:
PARTIES, JURISDICTION, AND VENUE
1. CBRE is a commercial real estate services and investment firm incorporated in
the state of Delaware, With its principal place of business located in Los Angeles, California, and

is authorized to transact business in Florida.

2. Stoilas is an individual citizen of the State of Florida, residing in Hillsborough
County, Florida.
3. The Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the parties to this action are diverse and the amount ir' controversy exceeds $75,000,
exclusive of interest and costs.

4. Venue is proper in this district under 28 U.S.C. § 1391 because Stoilas resides in
Hillsborough County, Florida, and the actions that form the basis for this case occurred in
Hillsborough County, Florida.

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GENERAL ALLEGATIONS

5. On or about November 4, 2013, CBRE entered into a Broker-Salesperson
Contract with Stoilas whereby CBRE agreed to employ Stoilas as a real estate salesperson (the
"BSC").

6. Also on or about November 4, 2013, in conjunction with the execution of the
BSC, CBRE and Stoilas executed an Indemnity Agreement (the "IA") and the First Addendum
to Broker-Salesperson Contract (the "Addendum"). The Addendum supplements and amends
the BSC and supersedes any inconsistent provisions contained within the BSC, IA, and CBRE's
General Rules & Policies. The BSC, IA, and Addendum shall collectively be referred to as the
"Employment Agreement." A true and correct copy of the Employment Agreement is attached
hereto as Exhibit "A."

7. The Employment Agreement became effective, and Stoilas began his employment
With CBRE, on December 2, 2013 (the "Effective Date").

8. The term of the Employment Agreement was seven (7) years from the Effective
Date, or December 2, 2020 (the "Term").

9. Pursuant to the Employment Agreement, specifically paragraph 18 of the BSC
and paragraph 31 of the Addendum, CBRE and Stoilas jointly agreed to submit all disputes or
claims between the parties related to Stoilas' employment, or the termination of his employment,
to confidential binding arbitration.

10. Also pursuant to the Employment Agreement, specifically paragraph 23 of the
Addendum, CBRE agreed to pay Stoilas a sign on bonus in the total sum of $140,000.00, subject
to the terms and conditions provided for in paragraphs 23.2 through 23.7 of the Addendum (the

"Bonus").

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11. Paragraphs 23.5 and 23.5(a) of the Addendum state if Stoilas' employment with
CBRE is terminated on a date prior to the end of the Term (the "Date of Termination"),
voluntarily by Stoilas other than for "Good "Reason" (as defined by paragraph 23.7 of the
Addendum), Stoilas promises to repay CBRE, within ninety (90) days of the Date of
Termination, the full amount of the Bonus, if the Date of Termination is prior to the third (3rd)
anniversary of the Effective Date,

12. Therefore, pursuant to the Employment Agreement, if Stoilas voluntarily
terminated his employment with CBRE prior to December 2, 2016, other than for "Good
Reason," Stoilas promised to re-pay CBRE the full amount of` the Bonus within ninety (90) days
of his Date of Termination.

13. Following the Effective Date, CBRE paid Stoilas the Bonus pursuant to the terms
set forth in the Employment Agreement.

14. On or about August 30, 2016, CBRE and Stoilas executed the Termination
Memorandum (the "Termination Memorandum"), which terminated Stoilas' employment with
CBRE, other than for "Good Reason" as that term is defined in the Addendum, effective August
8, 2016, the Date of Termination. A true and correct copy of the Terrnination Memorandum is
attached hereto as Exhibit "B."

15. Therefore, Stoilas was obligated to re-pay CBRE the full amount of the Bonus,
$140,000.00, within ninety (90) days of the Date of` Termination, or on or before November 4,
2016.

16. Following the Date of Termination, CBRE made numerous requests for re-
payment of` the Bonus to Stoilas, but Stoilas has refused to repay CBRE pursuant to the

Employment Agreement to date.

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17. On January 18, 2018, CBRE filed a Demand for Arbitration and Statement of
Arbitration Claim with the American Arbitration Association (the "AAA"), and formally served
a copy of both documents on Stoilas on January 22, 2018.

18. On January 19, 2018, the AAA sent correspondence to CBRE Stating that because
the arbitration provisions included in the Employment Agreement do not reference the AAA as
the chosen administering agency, or that the AAA's rules shall apply, the parties were required to
return a signed copy of that correspondence, expressly agreeing to submit their dispute to
arbitration administered by the AAA, on or before January 31, 2018 (the "AAA
Correspondence").

19. On January 23, 2018, CBRE's counsel signed and returned the AAA
Correspondence to the AAA. A true and correct copy of the AAA Correspondence executed by
CBRE's counsel is attached hereto as Exhibit "C."

20. On January 31, 2018, the AAA sent correspondence to the parties indicating that
because Stoilas had not authorized the AAA to administer the dispute between the parties the
AAA had administratively closed its file, without prejudice (the "AAA Termination Notice"). A
true and correspond copy of the AAA Termination Notice is attached hereto as Exhibit "D."

21. On February 2, CBRE had a copy of the AAA correspondence formally served on
Stoilas.

22. Stoilas, through counsel, has refused to agree to arbitrate this dispute.

23. Due to Stoilas' refusal to comply with the arbitration provisions in the
Employment Agreement, CBRE now seeks to enforce its rights thereunder in this Court.

24. All conditions precedent to this action have occurred, have been satisfied, or have

been waived.

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COUNT I
BREACH OF CONTRACT

25. CBRE re-alleges the allegations set forth in paragraphs 1 through 24 above, as
though fully set forth herein.

26. CBRE and Stoilas jointly executed the valid Written Employment Agreement.

27. CBRE performed, or substantially performed, under the Employment Agreement
by employing Stoilas, paying him the Bonus, and otherwise complying with the terms of the
Employment Agreement.

28. Stoilas breached the Employment Agreement by failing to deliver or otherwise
effectuate the required payment of $140,000.00 to CBRE on or before November 4, 2016.

29. CBRE has suffered harm and damages as a result of Stoilas' failure to perform
pursuant to the Employment Agreement.

WHEREFORE, CBRE respectfully requests this Court enter judgment in its favor and
against Stoilas, award CBRE the damages it has sustained by reason of Stoilas' breach of the
Employment Agreement, including costs and prejudgment interest, and provide such other and
further relief as is deemed just and appropriate

Dated this 26th day of February, 2018.

Respectfully submitted,

/s/ Sara D. Dunn

Sara D. Dunn

Florida Bar No. 106923

QUARLES & BRADY LLP

101 East Kennedy Boulevard, Suite 3400
Tampa, Florida 33602

Phone: 813-387-0300

Sara.dunn uarles.com
Lvnda.dekevser@quarles.com

DocketFL@guarles.com
Counselfor Claimant, CBRE, Inc.

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